Case 2:18-cv-03099-DRH-AKT Document 111 Filed 10/21/20 Page 1 of 2 PageID #: 2716




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
   D.W.M., a minor by Willie Moore, his father, and
   Ursula Moore, his mother, D.D.M., a minor by
   Willie Moore, his father, and Ursula Moore, his
   mother, WILLIE MOORE and URSULA MOORE,

                                      Plaintiffs,
                                                                            ORDER
                     -against-
                                                                     CV 18-3099 (DRH) (AKT)
   ST. MARY SCHOOL, BIAGIO M. ARPINO,
   Principal of St. Mary School, and THE ROMAN
   CATHOLIC DIOCESE OF ROCKVILLE
   CENTRE,

                                       Defendants.
  ---------------------------------------------------------------X

  A. KATHLEEN TOMLINSON, Magistrate Judge:

          The Court has received the nearly duplicative letters of Defendants Mike Jones and

  Christine Jones, individually and as parents and natural guardians of M.J., requesting a

  conference with the Court to address the parties’ impasse as to the resolution of the pending

  Infant Compromise Order. See DE 108, 119. Counsel for the parties were previously directed to

  inform the Court in writing as to how they intended to proceed regarding this issue by June 26,

  2020. See June 19, 2020 CCMO [DE 101]. On June 26, 2020, Plaintiff’s counsel advised the

  Court that the parties still had not reached an agreement as to how they would proceed and

  required until July 10, 2020 to advise the Court on the issue. See DE 102. Defendants’ letters

  are now submitted over two months later without any explanation as to why the parties did not

  comply with the July 10, 2020 date previously provided to the Court.
Case 2:18-cv-03099-DRH-AKT Document 111 Filed 10/21/20 Page 2 of 2 PageID #: 2717




         The Court is setting this case down for a telephone conference on November 6, 2020 at

  12:30 p.m. to address this issue. Counsel are directed to use the Court’s teleconference line at

  866-590-5055, access code 9720458.

         In the interim, no later than October 30, 2020, the disputing parties are to individually

  and separately file on ECF a letter not to exceed two pages (or it will be returned to counsel)

  stating with specificity the party’s version of the dispute as well as individual counsel’s position

  as to how the dispute should be resolved. The disputing parties should include citations to any

  caselaw which supports their respective positions. The Court expects each disputing party’s

  statement to be precise and narrowly tailored and not to be treated as an opportunity to expand

  beyond what has previously been discussed.



                                                        SO ORDERED.


  Dated: Central Islip, New York
         October 21, 2020


                                                        /s/ A. Kathleen Tomlinson
                                                        A. KATHLEEN TOMLINSON
                                                        United States Magistrate Judge




                                                    2
